          Case: 24-3060     Document: 21           Filed: 12/03/2024    Pages: 13


                    Nos. 24-3060, 24-3061, 24-3062, 24-3063 (consol.)

                                    IN THE
                        UNITED STATES COURT OF APPEALS
                           FOR THE SEVENTH CIRCUIT

    CALEB BARNETT, BRIAN NORMAN,               )    Appeal from the United States
    HOOD’S GUNS & MORE, PRO GUN                )    District Court for the Southern
    AND INDOOR RANGE, and                      )    District of Illinois
    NATIONAL SHOOTING SPORTS                   )
    FOUNDATION, INC.,                          )
                                               )
                 Plaintiffs-Appellees,         )
                                               )
          v.                                   )    No. 3:23-cv-00209-SPM
                                               )
    KWAME RAOUL, Attorney General of           )
    the State of Illinois, and BRENDAN F.      )
    KELLY, Director of the Illinois State      )
    Police,                                    )    The Honorable
                                               )    STEPHEN P. McGLYNN,
          Defendants-Appellants.               )    Judge Presiding. 1

                        REPLY IN SUPPORT OF MOTION
                    TO STAY INJUNCTION PENDING APPEAL

         For the second time in two years, the district court enjoined defendants from

enforcing the Protect Illinois Communities Act (“Act”) in its entirety and statewide.

Defendants have explained why the court’s opinion — which conflicts with opinions

of the First, Fourth, and D.C. Circuits, as well as this court’s own opinion in Bevis v.

City of Naperville, 85 F.4th 1175 (7th Cir. 2023) — is likely to be reversed and why its

injunction, if it takes effect, will damage public safety in Illinois. Plaintiffs’ response




1
 Together with Harrel v. Raoul, No. 24-3061; Langley v. Kelly, No. 24-3062; and
Federal Firearms Licensees of Illinois v. Pritzker, No. 24-3063.
        Case: 24-3060      Document: 21          Filed: 12/03/2024    Pages: 13


identifies no persuasive reason to allow the injunction to take effect. The court

should stay the injunction and preserve the status quo while it considers the appeal.

                                     ARGUMENT

I.    The stay motion complies with Rule 8.

      Plaintiffs’ response falters at the start. Plaintiffs say that defendants failed to

comply with Fed. R. App. P. 8 by failing to seek a stay first from the district court and

by failing to provide reasonable notice of the motion. Opp. 7-9. 2 Plaintiffs are wrong.

      First, defendants complied with Rule 8(a)(1). That rule requires a party

seeking a stay in the court of appeals to “move first in the district court.” Fed. R.

App. 8(a)(1). Defendants did so. In their post-trial brief, defendants asked the court

to “stay[ ]” “any injunction . . . pending appeal — or at the very least for ten days

while defendants seek relief in the Seventh Circuit.” Doc. 248 at 61. In fact,

defendants explained that a stay pending appeal was warranted because such a stay

would preserve the status quo, be consistent with this court’s decision to issue a stay

at the preliminary-injunction stage, and benefit the public, see id. (citing In re A & F

Enters., Inc. II, 742 F.3d 763 (7th Cir. 2014)) — the very same arguments made

before this court. Plaintiffs thus misread the record in asserting that the district

court “sua sponte stayed its injunction,” Opp. 7; rather, the court understood

defendants to request a stay under Rule 8(a)(1) and issued a 30-day stay to allow




2
  Citations to “A__” are to the appendix, citations to “Doc. __” are to the Barnett
district-court docket, citations to “Mot. __” are to defendants’ motion, and citations
to “Opp. __” are to plaintiffs’ response.


                                            2
        Case: 24-3060      Document: 21          Filed: 12/03/2024    Pages: 13


them to “seek relief in the Seventh Circuit,” Doc. 248 at 61, as they suggested they

would. That is just what Rule 8(a)(1) contemplates.

      Plaintiffs also complain that defendants failed to “give [them] reasonable

notice of the motion,” as required by Rule 8(a)(2)(C). Opp. 9. But plaintiffs’ counsel

below was automatically entered as their appellate counsel of record when the appeal

was docketed, and thus received “notice of the motion” through the CM/ECF system.

That complied with this court’s rules and procedures, see 7th Cir. R. 25(a); 7th Cir.

CM/ECF Manual 4 (for “a CM/ECF participant, receipt of an NDA constitutes service

of that document or order”), and plaintiffs identify no reason it was not “reasonable”

under the circumstances. (Plaintiffs certainly cannot claim to have been prejudiced,

as this court gave them almost two weeks to respond to the motion. 7th Cir. Doc. 8.)

And to the extent plaintiffs think Rule 8(a)(2)(C) somehow required defendants to

provide them with notice of their motion “before” filing it, Opp. 7, they cite no case

reading the rule that way, and defendants are aware of none.

II.   Defendants are likely to succeed on the merits.

      Defendants explained why they are likely to succeed on appeal: Plaintiffs

failed to show that the weapons regulated by the Act are “arms” protected by the

Second Amendment, and defendants established a historical tradition of regulating

dangerous and unusual weapons. Mot. 7-17. Plaintiffs’ responses are unavailing. 3



3
  Plaintiffs appear to suggest that defendants must meet a heightened standard
because they seek to stay a permanent, not a preliminary, injunction. Mot. 7, 9 (State
must show that it is “significantly likely” to prevail on appeal); see also id. at 18, 20
(“substantially likely” to prevail). But plaintiffs’ cited case, Hinrichs v. Bosma, 440
F.3d 393 (7th Cir. 2006), does not distinguish between permanent and preliminary


                                           3
        Case: 24-3060      Document: 21          Filed: 12/03/2024     Pages: 13


      A.     Assault weapons and LCMs are not “arms.”

      First, as defendants explained, the district court erred in concluding that

assault weapons and LCMs are “arms” covered by the Second Amendment. The

record showed that assault weapons and LCMs are more like military-grade

weaponry than firearms suitably used for self-defense, Mot. 11-13, and the district

court reached a contrary conclusion only by rejecting the framework that Bevis set

out and accepting arguments that Bevis rejected, id. at 8-10. Plaintiffs’ attempts to

rehabilitate the district court’s step-one holding lack merit.

      Plaintiffs’ primary defense of the opinion below is that this court in Bevis

specifically “contemplated” that the parties might amass a factual record that would

“demonstrate that [this court’s] preliminary views were mistaken,” Opp. 10-11, and

that that is what occurred below. Plaintiffs are half right: The parties did compile

an extensive record regarding (among other things) the weapons regulated by the Act

and their similarities to military-grade technology. Mot. 11-13; see Doc. 247, ¶¶ 32-

393 (defendants’ proposed findings of fact). But the district court’s step-one

reasoning did not turn on its engagement with that record. Rather, the court’s

reasoning turned largely on two facts, both of which were considered and rejected by

Bevis: that assault weapons and LCMs are commercially popular, A100-02, and that

assault weapons like the AR-15 are unlike their military counterparts because they

are capable only of semiautomatic fire, A110-13. The district court, in other words,




relief, and it relies on a non-permanent-injunction case for its articulation of the legal
standard, id. at 396.


                                            4
        Case: 24-3060      Document: 21          Filed: 12/03/2024     Pages: 13


did not sift through a “mountain of evidence” to reach its step-one conclusion, as

plaintiffs suggest, Opp. 13; rather, the court issued an opinion that largely tracked its

prior views and the reasoning of the Bevis dissent.

      Consider, for instance, the district court’s discussion of whether the weapons

regulated by the Act are “weapons in common use for self-defense.” Bevis, 85 F.4th

at 1192. The court relied largely on evidence that was before this court in Bevis:

survey data asserting that “millions of Americans own AR-15s at this very moment.”

A101 (emphasis in original); accord A102 (“AR-type weapons . . . have been called the

country’s most popular rifle for decades”). The Bevis dissent would have relied on

exactly that evidence to find that such weapons are in “common use,” 85 F.4th at

1214-15 (Brennan, J., dissenting), but the majority rejected its utility, explaining that

whether a weapon is in “common use for self-defense” cannot be based “on numbers

alone,” id. at 1198-99 (majority opinion). The district court, in other words, based its

step-one holding not on the evidence developed on remand, but on facts considered

and discounted in Bevis. For their part, plaintiffs argue that the “voluminous

record” contains other evidence — specifically, plaintiffs’ proposed findings of fact —

on which the district court could have relied to find that assault weapons are “arms,”

Opp. 13, but the court did not rely on (or, at minimum, cite) this evidence in reaching

that conclusion. 4 The court certainly made no “factual finding” on “common use,”

id. at 16, to which this court could defer on appeal.



4
  Plaintiffs also assert that the district court “relied on an estimation of common use
that the state’s expert supplied,” id. (emphasis in original), but both plaintiffs and the
district court badly misread the record. The expert in question did not estimate that


                                            5
        Case: 24-3060      Document: 21           Filed: 12/03/2024     Pages: 13


       The district court’s discussion of the difference between AR-15s and military-

grade weaponry is likewise flawed, as defendants explained, Mot. 10, in that it relies

heavily on an argument that Bevis considered and rejected — namely, that AR-15s

can be fired only in semiautomatic mode, whereas military-grade weapons like the

M16 can be fired in burst or automatic mode, too. See Bevis, 85 F.4th at 1195-96.

Plaintiffs insist that the district court’s conclusion is consistent with Bevis because

Bevis did not “‘rule out the possibility that the plaintiffs w[ould] find other evidence’

that [might] demonstrate its preliminary views were mistaken.” Opp. 10 (citing 85

F.4th at 1197); accord id. at 14-15 (arguing that “the ‘select-fire’ distinction is far

more significant than Bevis appreciated”). But the only evidence cited by the court

for its military-use conclusion was testimony that the AR-15 “has never been used by

any military force on the planet.” A107 (emphasis in original). Beyond that fact —

which, like the survey evidence the district court cited for its common-use analysis,

was before this court in Bevis 5 — the district court relied only on the Bevis dissent,

A108 (citing 85 F.4th at 1222 (Brennan, J., dissenting)), and dicta in an unrelated

Supreme Court opinion, A108-09 (citing Garland v. Cargill, 602 U.S. 406 (2024)).

That “evidence” cannot justify overturning this court’s preliminary conclusion that



“millions of Americans own AR-15s,” A101 (citing Doc. 258, ¶ 98); he summarized a
survey on which plaintiffs relied, Doc. 190-1 at 19-20, while attesting to his own view
that “the circulation and ownership rates for assault weapons are indeterminable,”
id. at 8.
5
  Compare Barnett Appellees’ Br. at 50 n.13, Bevis, 85 F.4th 1175 (No. 23-1825)
(“‘[N]o military in the world uses a service rifle that is semiautomatic only.’”
(quoting Wallace, “Assault Weapons” Myths, 43 S. Ill. L.J. 193, 203-04 (2018))), with
A107 (citing the same source for the same proposition).


                                             6
        Case: 24-3060     Document: 21          Filed: 12/03/2024     Pages: 13


the weapons the Act regulates are “more like machineguns and military-grade

weaponry than they are like the many different types of firearms that are used for

individual self-defense.” Bevis, 85 F.4th at 1195; accord Bianchi v. Brown, 111 F.4th

438, 452 (4th Cir. 2024) (en banc) (“[T]hese are not the modern equivalents of

weapons that were commonly possessed and employed for self-preservation by your

shopkeeper, or your butcher, or your blacksmith up the road in colonial America —

the disarmament of whom the Second Amendment was ratified to prevent.”). 6

      B.     The Act is consistent with history and tradition.

      The district court likewise erred in concluding that the State had not met its

burden of showing that the Act is “consistent with this Nation’s historical tradition.”

New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 17 (2022). To the

contrary, the State showed that the Act is consistent with a historical tradition of

regulating especially dangerous weapons, as this court held in Bevis and as the First,

Fourth, and D.C. Circuits have concluded about laws regulating assault weapons and

LCMs. Hanson v. District of Columbia, 120 F.4th 223 (D.C. Cir. 2024) (per curiam);

Bianchi, 111 F.4th 438; Ocean State Tactical, LLC v. Rhode Island, 95 F.4th 38 (1st

Cir. 2024). The district court reached a contrary conclusion by expressing “concern”




6
  Plaintiffs also argue that the opinion below could be affirmed on the ground that
the weapons regulated by the Act are “dual use” weapons. Opp. 11 (citing Bevis, 85
F.4th at 1195 n.8). But plaintiffs and the district court misread a footnote in Bevis,
which did not establish a unique category of weapons with special status under the
Second Amendment. Rather, Bevis made the unremarkable observation that some
weapons used in civilian life are also issued by the military (for instance, officers’
pistols) and that fact alone does not mean such weapons are not “arms.”


                                           7
        Case: 24-3060      Document: 21          Filed: 12/03/2024    Pages: 13


about this court’s preliminary conclusions and instead crediting the competing

historical account offered by the Bevis dissent. A151; see Mot. 13-17.

      Plaintiffs do not defend that aspect of the district court’s reasoning. Opp. 17-

20. Instead, they argue that, because the district court concluded that the weapons

regulated by the Act are “arms” under the Second Amendment, rather than weapons

useful predominantly for military purposes, “the state bore the burden of identifying

some other historical tradition that could justify its law.” Opp. 18 (emphasis added).

But that argument adopts too narrow a reading of Bevis: The court there went on to

Bruen’s second step even assuming that assault weapons and LCMs were “Arms (i.e.,

non-militaristic weapons),” and held that the Act’s regulation of these weapons was

consistent with a “long-standing tradition of regulating the especially dangerous

weapons of the time,” 85 F.4th at 1199, whether such items were “militaristic” or

not. Plaintiffs are wrong, that is, to contend that the historical tradition Bevis

identified at step two allows a State to regulate only those items a court finds are not

“arms” at step one; were that the case, Bevis would not have discussed history at all.

      Plaintiffs separately defend the district court’s rejection of defendants’

historical analogues, contending primarily that they are inapposite because they do

not “ban sale or possession,” but merely carriage or use. Opp. 19. But defendants

explained why this approach is inconsistent with Rahimi, which upheld a federal

statute far less like its historical analogues than the Act. Mot. 15; United States v.

Rahimi, 602 U.S. 680, 700 (2024). Plaintiffs have no real response except to insist

that the district court “did not rest its decision on” such reasoning. Opp. 19. At




                                            8
        Case: 24-3060      Document: 21          Filed: 12/03/2024     Pages: 13


bottom, neither plaintiffs nor the district court offer any reason to second-guess

defendants’ historical regulations beside the fact that “the particulars . . . varied from

place to place, and that some were more absolute than others.” Bevis, 85 F.4th at

1199. But Bevis considered that argument and rejected it, and plaintiffs identify no

basis to depart from that decision, especially in this posture.

III.   The equitable factors necessitate a stay.

       Finally, a stay should be granted because the equitable factors favor retaining

the status quo pending appeal. Plaintiffs’ handful of counterarguments, Opp. 20-21,

do not show otherwise.

       Plaintiffs’ primary critique is that defendants merely “speculat[e]” that

allowing the injunction to take effect could damage public safety in Illinois. Opp. 20-

21. But there is a documented link between mass shootings and access to assault

weapons. Mot. 18 (citing expert testimony). And, as the D.C. Circuit observed,

during the week in which California’s analogous LCM ban was enjoined, “over one

million [LCMs] flooded into” that State. Hanson, 120 F.4th at 246 (cleaned up). So

this is hardly a case in which the “claimed harm to the public interest is based

entirely on speculation,” Opp. 21; rather, the harm to the public interest rests on the

well-supported connection between assault weapons and violent crime. Defendants

pointed to this evidence in the stay motion, but plaintiffs did not address it, electing

instead to simply assert that defendants’ argument rests on “conjecture.” Id. But

saying it does not make it so.




                                            9
        Case: 24-3060       Document: 21          Filed: 12/03/2024      Pages: 13


       Plaintiffs also do not seriously dispute that the injunction’s limitless scope

underscores the need for a stay. Mot. 18-19. Plaintiffs do not dispute, for instance,

that the district court enjoined the statewide enforcement of provisions that plaintiffs

did not challenge and that the court agreed were constitutional. Id. Plaintiffs simply

say that, if there is an “issue with the clarity of the district court’s injunction,” the

court can address that on remand. Opp. 21. But the issue is not that the injunction

is unclear; rather, the district court clearly stated that it was enjoining the entire Act

based on its view that its provisions were not severable. A164-68. Plaintiffs appear

to agree with that description of the injunction, Opp. 6 (district court “permanently

enjoin[ed] application of [the Act]”), so the issue is not the injunction’s clarity, but its

breadth. Plaintiffs assert that the injunction is not “unbounded” because it applies

only to “citizens in Illinois who wish to exercise their Second Amendment rights.”

Opp. 21. But that is circular. The court’s injunction is flawed and overbroad. It

should be stayed pending appeal.

                                     CONCLUSION

       The court should stay the injunction pending appeal.

                                                 Respectfully submitted,

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                                            10
Case: 24-3060   Document: 21        Filed: 12/03/2024   Pages: 13


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                               11
        Case: 24-3060     Document: 21         Filed: 12/03/2024     Pages: 13


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27(d)(2)(C) in that the motion contains 2,596 words.

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       Case: 24-3060      Document: 21         Filed: 12/03/2024     Pages: 13


                  CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on December 3, 2024, I electronically filed the foregoing

Motion to Stay Injunction Pending Appeal with the Clerk of Court for the United

States Court of Appeals for the Seventh Circuit by using the CM/ECF system.

      I certify that the other participants in this appeal are CM/ECF users and will

be served by the CM/ECF system.


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